        Case 1:11-cr-00016-DAD-BAM Document 83 Filed 04/24/12 Page 1 of 4


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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:11-CR-00016-AWI
                                           )
12                    Plaintiff,           )   PRELIMINARY ORDER OF FORFEITURE
                                           )
13        v.                               )
                                           )
14   VICTOR PUGA QUIROZ,                   )
                                           )
15                    Defendant.           )
                                           )
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Victor Puga Quiroz, it is
19   hereby ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
21   2461(c), defendant Victor Puga Quiroz’ interest in the following
22   property shall be condemned and forfeited to the United States of
23   America, to be disposed of according to law:
24             a.    The following items seized from the van of QUIROZ
                     on November 16, 2010:
25                    i. Approximately 3,200 DVDs and 772 CDs,
26                   ii.   Two Sony DVD players,
27                  iii.   One Hitachi DVD player,
28                   iv.   One Curtis DVD player, and



                                                         Application for Preliminary
                                           1             Order of Forfeiture
     Case 1:11-cr-00016-DAD-BAM Document 83 Filed 04/24/12 Page 2 of 4


 1                  v.   One Sony LCD flat screen television,
 2          b.     The following items seized from QUIROZ’ residence
                   at 1325 Ensenada Drive, Modesto, California on
 3                 November 16, 2010:
 4                  i.   Approximately 5,043 DVDs and 202 CDs,
 5                 ii.   Approximately 3 CD and DVD disc replicators,
 6                iii.   Approximately 950 blank CD and DVD media,
 7                 iv.   Approximately 3,793 CD and DVD cases, and
 8                  v.   One Panasonic digital camera,
 9          c.     The following items seized from QUIROZ’ residence
                   at 207 N. Riverside Drive, Modesto, California on
10                 November 16, 2010:
11                  i.   Approximately 8,701 DVDs and 69,638 CDs,
12                 ii.   Approximately 5 CD and DVD disc replicators,
13                iii.   Approximately 100 blank CD and DVD media,
                         and
14
                   iv.   Approximately 1,770 CD and DVD cases,
15
            d.     Approximately 32,561 DVDs and 168,247 CDs seized
16                 from the warehouse at 360 Wooster Ave, San Jose,
                   California on November 23, 2010,
17
            e.     The following items seized from the warehouse at
18                 360 Wooster Ave, San Jose, California on November
                   23, 2010:
19
                    i.   CD and DVD cover artwork,
20
                   ii.   Approximately 10,450 blank CD and DVD media,
21
                  iii.   Approximately 15,096 CD and DVD cases,
22
                   iv.   seal bags and wrappers,
23
                    v.   Approximately 5 CD and DVD disc replicators,
24
                   vi.   HP Studio Jet 50 printer, serial number
25                       MY5A1122C,
26               vii.    HP Q2288L printer, serial number MY8985R1C7,
27               viii.   Epson Artisan 840 printer, serial number
                         LJDY191711,
28



                                                      Application for Preliminary
                                        2             Order of Forfeiture
        Case 1:11-cr-00016-DAD-BAM Document 83 Filed 04/24/12 Page 3 of 4


 1                     ix.   HP PhotoSmart Plus, serial number CN0F412P4,
 2                      x.   Gateway NV78 laptop computer, serial number
                             LXWE802005942023A31601,
 3
                       xi.   Compaq Presario 85000NX computer, serial
 4                           number MXK3350V0D,
 5                    xii.   “Multi-media computer system” generic
                             computer,
 6
                     xiii.   Approximately five internal and external
 7                           hard drives,
 8                    xiv.   Two Thumb drives,
 9                     xv.   Approximately 142 DVD and CD master disks,
10                    xvi.   One generic, black Computer System,
11                   xvii.   2-Wire gateway router, serial number
                             301019093693,
12
                    xviii.   One LG portable CD/DVD drive, serial number
13                           009HKAT061664,
14                    xix.   Approximately 12 cases of blank paper, and
15                     xx.   Approximately 5,000 plastic bags.
16        2.    The above-listed assets constitute or are derived from
17   proceeds traceable to a violation of 18 U.S.C. § 371 or a conspiracy
18   to commit such offense.
19        3.    Pursuant to Rule 32.2(b), the Attorney General (or a
20   designee) shall be authorized to seize the above-listed property.
21   The aforementioned property shall be seized and held by the United
22   States Marshals Service and/or Federal Bureau of Investigation in
23   their secure custody and control.
24        4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.
25   § 853(n), and Local Rule 171, the United States shall publish notice
26   of the order of forfeiture.     Notice of this Order and notice of the
27   Attorney General’s (or a designee’s) intent to dispose of the
28   property in such manner as the Attorney General may direct shall be



                                                         Application for Preliminary
                                           3             Order of Forfeiture
        Case 1:11-cr-00016-DAD-BAM Document 83 Filed 04/24/12 Page 4 of 4


 1   posted for at least 30 consecutive days on the official internet
 2   government forfeiture site www.forfeiture.gov.        The United States may
 3   also, to the extent practicable, provide direct written notice to any
 4   person known to have alleged an interest in the property that is the
 5   subject of the order of forfeiture as a substitute for published
 6   notice as to those persons so notified.
 7             b.   This notice shall state that any person, other than
 8   the defendant, asserting a legal interest in the above-listed
 9   property, must file a petition with the Court within sixty (60) days
10   from the first day of publication of the Notice of Forfeiture posted
11   on the official government forfeiture site, or within thirty (30)
12   days from receipt of direct written notice, whichever is earlier.
13        5.   If a petition is timely filed, upon adjudication of all
14   third-party interests, if any, this Court will enter a Final Order of
15   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
16   2461(c), in which all interests will be addressed.
17
18   IT IS SO ORDERED.
19
     Dated:      April 24, 2012
20   0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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                                                         Application for Preliminary
                                           4             Order of Forfeiture
